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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                    May 20, 2021

BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

       The parties respectfully submit the attached proposed verdict sheet, pursuant to the
Court’s Individual Rule I.1.



                                             Respectfully submitted,

                                             AUDREY STRAUSS
                                             Acting United States Attorney

                                         by: /s/ Hagan Scotten
                                             Paul M. Monteleoni
                                             Hagan Scotten
                                             Alexandra N. Rothman
                                             Assistant United States Attorneys
                                             (212) 637-2219/2410/2580

cc: Counsel of Record (via ECF)
